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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
United
BRYON PARFFREY Souther Distiet of esag
FILED
Plaintiff

VS.

PHH MORTGAGE CORPORATION

Defendant

 

PHH MORTGAGE CORPORATION ,

Defendant/Counter-Plaintiff

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and Third Party Plaintiff (

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v. (
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ANGELINE PARFFREY (
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Third Party Defendant, (

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And BRYON PARFFREY, (
(
(

Plaintiff/Counter-Defendant

Aus 15 2022

Nathan Ochsner, Clerk of Court

Case No.: 4:21-CV-03151

JURY TRIAL DEMANDED

PLAINTIFF BRYON PARFFREY’S
DESIGNATION OF EXPERT WITNESSES

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Plaintiff and Counter-Defendant Bryon Parffrey (“Plaintiff”) and files this
Designation of Expert Witnesses and respectfully shows the Court as follows:

WITNESS

TOPICS

John C. Heath Attorneys fees, Plaintiff’s and Defendant’s, the
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Attorney at Law

Lexington Law Firm

2875 South Decker Lake Dr.,#200
North Salt Lake, UT 84054

Tel.: (800) 341-8441

E-Mail: john@lexingtonlaw.com

Peter Conlan, CPA

314 Wycliffe Dr.

Houston, Texas 77079
713-252-9721
peter.conlan@pvconlan.com

Any other witnesses designated by
Plaintiff or Defendant

in Witness Designations,
Interrogatories or other

pleadings or supplemental pleadings,
all incorporated by reference herein.

Custodians of any business, financial
or other records of any of the above
(by deposition on written question,
business records affidavit, deposition
live testimony or otherwise)

reasonableness and necessity thereof and related
matters; various legal matters related to the claims,
defenses, affirmative defenses, special denials and
other matters related in any way to the pleadings
or issues of this lawsuit.

Various accounting and financial matters related
to the claims and defenses and

all matters related in any way to the pleadings
or issues in this lawsuit.

All topics and categories listed therein
and herein

All topics and categories listed therein
and herein

NOTE: Plaintiff reserves the right to present any or all of the above witnesses by deposition
(including but not limited to video depositions), affidavit, as live witnesses at trial or otherwise, in
Plaintiff's discretion. Plaintiff reserves all rights under the Federal Rules of Civil Procedure, Federal
Rules of Civil Evidence, case law, orders of the Court and other applicable law to, among other
things, supplement the above, call Defendants’ witnesses as adverse witnesses or on
cross-examination, call undesignated rebuttal witnesses, call fact witnesses for lay opinions, and any
and all additional rights related in any way to witnesses.

Dated this 15" day of August, 2022.
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Respectfully submitted,

     

Bryon Parffrey, P
2610 Tudor Manor

Houston, Texas 77082

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Fax: (281) 588-5821

E-Mail bryon@buildersacademy.com
PLAINTIFF AND COUNTER-DEFENDANT

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been served on all
counsel of record in accordance with the Federal Rules of Civil Procedure on this the 15th day of
August, 2022.

 
